Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 1 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 2 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 3 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 4 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 5 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 6 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 7 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 8 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 9 of 10
Case 1:08-cr-00415-ELH   Document 359   Filed 10/21/15   Page 10 of 10
